                   Case 15-51342-crm                            Doc 1           Filed 01/22/15 Entered 01/22/15 19:02:28                                                   Desc Main
B1 (Official Form 1)(04/13)
                                                                                Document      Page 1 of 13
                                                  United States Bankruptcy Court
                                                          Northern District of Georgia                                                                             Voluntary Petition
           }
           b
           k
           1
           {
           F
           o
           r
           m
           .
           V
           l
           u
           n
           t
           a
           y
           P
           e
           i




 Name of Debtor (if individual, enter Last, First, Middle):                                                 Name of Joint Debtor (Spouse) (Last, First, Middle):
  Reid, James Leonard III                                                                                      Reid, Erical L


All Other Names used by the Debtor in the last 8 years                                                      All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                                 (include married, maiden, and trade names):
  AKA James Leonard Oglesby                                                                                    AKA Erical L Tabor



Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN                               Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
(if more than one, state all)                                                                               (if more than one, state all)
  xxx-xx-7315                                                                                                  xxx-xx-1976
Street Address of Debtor (No. and Street, City, and State):                                                 Street Address of Joint Debtor (No. and Street, City, and State):
  623 Windsor Dr. SE                                                                                          623 Windsor Dr. SE
  Conyers, GA                                                                                                 Conyers, GA
                                                                                           ZIP Code                                                                                        ZIP Code
                                                                                         30094                                                                                         30094
County of Residence or of the Principal Place of Business:                                                  County of Residence or of the Principal Place of Business:
  Rockdale                                                                                                     Rockdale
Mailing Address of Debtor (if different from street address):                                               Mailing Address of Joint Debtor (if different from street address):


                                                                                           ZIP Code                                                                                        ZIP Code

Location of Principal Assets of Business Debtor
(if different from street address above):


                       Type of Debtor                                       Nature of Business                                              Chapter of Bankruptcy Code Under Which
          (Form of Organization) (Check one box)                               (Check one box)                                                 the Petition is Filed (Check one box)
     Individual (includes Joint Debtors)                            Health Care Business                                    Chapter 7
     See Exhibit D on page 2 of this form.                          Single Asset Real Estate as defined                                                     Chapter 15 Petition for Recognition
                                                                                                                            Chapter 9
     Corporation (includes LLC and LLP)                             in 11 U.S.C. § 101 (51B)                                                                of a Foreign Main Proceeding
                                                                                                                            Chapter 11
     Partnership                                                    Railroad
                                                                                                                            Chapter 12                      Chapter 15 Petition for Recognition
     Other (If debtor is not one of the above entities,             Stockbroker
                                                                                                                            Chapter 13                      of a Foreign Nonmain Proceeding
     check this box and state type of entity below.)                Commodity Broker
                                                                    Clearing Bank
                                                                    Other                                                                               Nature of Debts
                   Chapter 15 Debtors
                                                                           Tax-Exempt Entity                                                             (Check one box)
 Country of debtor's center of main interests:
                                                                          (Check box, if applicable)                       Debts are primarily consumer debts,                 Debts are primarily
                                                                    Debtor is a tax-exempt organization                    defined in 11 U.S.C. § 101(8) as                    business debts.
 Each country in which a foreign proceeding
 by, regarding, or against debtor is pending:                       under Title 26 of the United States                    "incurred by an individual primarily for
                                                                    Code (the Internal Revenue Code).                      a personal, family, or household purpose."

                                Filing Fee (Check one box)                                    Check one box:                          Chapter 11 Debtors
     Full Filing Fee attached                                                                      Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                   Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
     Filing Fee to be paid in installments (applicable to individuals only). Must             Check if:
     attach signed application for the court's consideration certifying that the
                                                                                                   Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
     debtor is unable to pay fee except in installments. Rule 1006(b). See Official
                                                                                                   are less than $2,490,925 (amount subject to adjustment on 4/01/16 and every three years thereafter).
     Form 3A.
                                                                                              Check all applicable boxes:
     Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                  A plan is being filed with this petition.
     attach signed application for the court's consideration. See Official Form 3B.
                                                                                                   Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                                                                   in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information                                                                                                                    THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
   Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
   there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors

     1-              50-            100-           200-       1,000-        5,001-        10,001-       25,001-       50,001-          OVER
     49              99             199            999        5,000        10,000         25,000        50,000        100,000         100,000

Estimated Assets

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million    million      million        million       million
Estimated Liabilities

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million    million      million        million       million
             Case 15-51342-crm                     Doc 1        Filed 01/22/15 Entered 01/22/15 19:02:28                                         Desc Main
B1 (Official Form 1)(04/13)
                                                                Document      Page 2 of 13                                                                                 Page 2
                                                                                     Name of Debtor(s):
Voluntary Petition                                                                     Reid, James Leonard III
(This page must be completed and filed in every case)                                  Reid, Erical L
                                All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                                     Case Number:                         Date Filed:
Where Filed: - None -
Location                                                                             Case Number:                                   Date Filed:
Where Filed:
          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 - None -
District:                                                                            Relationship:                                  Judge:

                                      Exhibit A                                                                                Exhibit B
                                                                                        (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,               I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                       have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934               12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                          under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                       required by 11 U.S.C. §342(b).

       Exhibit A is attached and made a part of this petition.                         X     /s/ Karen King                                      January 22, 2015
                                                                                           Signature of Attorney for Debtor(s)                     (Date)
                                                                                             Karen King 940309

                                                                               Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
       Yes, and Exhibit C is attached and made a part of this petition.
       No.

                                                                          Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
       Exhibit D completed and signed by the debtor is attached and made a part of this petition.
 If this is a joint petition:
       Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                     Information Regarding the Debtor - Venue
                                                               (Check any applicable box)
                   Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                   days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
                   There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                   Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                   this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                   proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                   sought in this District.
                                        Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                (Check all applicable boxes)
                   Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                      (Name of landlord that obtained judgment)




                                      (Address of landlord)

                   Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                   the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                   Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period
                   after the filing of the petition.
                   Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
              Case 15-51342-crm                      Doc 1         Filed 01/22/15 Entered 01/22/15 19:02:28                                      Desc Main
B1 (Official Form 1)(04/13)
                                                                   Document      Page 3 of 13                                                                           Page 3
                                                                                         Name of Debtor(s):
Voluntary Petition                                                                          Reid, James Leonard III
(This page must be completed and filed in every case)                                       Reid, Erical L
                                                                                    Signatures
                  Signature(s) of Debtor(s) (Individual/Joint)                                           Signature of a Foreign Representative
     I declare under penalty of perjury that the information provided in this              I declare under penalty of perjury that the information provided in this petition
     petition is true and correct.                                                         is true and correct, that I am the foreign representative of a debtor in a foreign
     [If petitioner is an individual whose debts are primarily consumer debts and          proceeding, and that I am authorized to file this petition.
     has chosen to file under chapter 7] I am aware that I may proceed under
                                                                                           (Check only one box.)
     chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief
     available under each such chapter, and choose to proceed under chapter 7.                  I request relief in accordance with chapter 15 of title 11. United States Code.
     [If no attorney represents me and no bankruptcy petition preparer signs the                Certified copies of the documents required by 11 U.S.C. §1515 are attached.
     petition] I have obtained and read the notice required by 11 U.S.C. §342(b).
                                                                                                Pursuant to 11 U.S.C. §1511, I request relief in accordance with the chapter
     I request relief in accordance with the chapter of title 11, United States Code,           of title 11 specified in this petition. A certified copy of the order granting
     specified in this petition.                                                                recognition of the foreign main proceeding is attached.


      /s/ James Leonard Reid, III                                                          X
 X                                                                                             Signature of Foreign Representative
     Signature of Debtor James Leonard Reid, III

 X    /s/ Erical L Reid                                                                        Printed Name of Foreign Representative
     Signature of Joint Debtor Erical L Reid
                                                                                               Date
     Telephone Number (If not represented by attorney)                                            Signature of Non-Attorney Bankruptcy Petition Preparer
     January 22, 2015
                                                                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Date                                                                                      preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                               compensation and have provided the debtor with a copy of this document
                              Signature of Attorney*                                           and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                               110(h), and 342(b); and, (3) if rules or guidelines have been promulgated
                                                                                               pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
 X    /s/ Karen King
                                                                                               chargeable by bankruptcy petition preparers, I have given the debtor notice
     Signature of Attorney for Debtor(s)                                                       of the maximum amount before preparing any document for filing for a
      Karen King 940309                                                                        debtor or accepting any fee from the debtor, as required in that section.
                                                                                               Official Form 19 is attached.
     Printed Name of Attorney for Debtor(s)
      King & King Law, LLC
                                                                                               Printed Name and title, if any, of Bankruptcy Petition Preparer
     Firm Name
      215 Pryor Street
      Atlanta, GA 30303-3748                                                                   Social-Security number (If the bankrutpcy petition preparer is not
                                                                                               an individual, state the Social Security number of the officer,
                                                                                               principal, responsible person or partner of the bankruptcy petition
     Address                                                                                   preparer.)(Required by 11 U.S.C. § 110.)

                              Email: notices@kingkingllc.com
      (404) 524-6400 Fax: (404) 524-6425
     Telephone Number
     January 22, 2015
                                                                                               Address
     Date
     *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
     certification that the attorney has no knowledge after an inquiry that the            X
     information in the schedules is incorrect.
                                                                                               Date
                Signature of Debtor (Corporation/Partnership)
                                                                                               Signature of bankruptcy petition preparer or officer, principal, responsible
     I declare under penalty of perjury that the information provided in this                  person,or partner whose Social Security number is provided above.
     petition is true and correct, and that I have been authorized to file this petition
     on behalf of the debtor.                                                                  Names and Social-Security numbers of all other individuals who prepared or
                                                                                               assisted in preparing this document unless the bankruptcy petition preparer is
     The debtor requests relief in accordance with the chapter of title 11, United             not an individual:
     States Code, specified in this petition.

 X
     Signature of Authorized Individual
                                                                                               If more than one person prepared this document, attach additional sheets
                                                                                               conforming to the appropriate official form for each person.
     Printed Name of Authorized Individual
                                                                                               A bankruptcy petition preparer’s failure to comply with the provisions of
                                                                                               title 11 and the Federal Rules of Bankruptcy Procedure may result in
     Title of Authorized Individual                                                            fines or imprisonment or both. 11 U.S.C. §110; 18 U.S.C. §156.

     Date
            Case 15-51342-crm                         Doc 1          Filed 01/22/15 Entered 01/22/15 19:02:28       Desc Main
                                                                     Document      Page 4 of 13


B 1D (Official Form 1, Exhibit D) (12/09)
                                                               United States Bankruptcy Court
                                                                     Northern District of Georgia
            James Leonard Reid, III
 In re      Erical L Reid                                                                           Case No.
                                                                                 Debtor(s)          Chapter    13




                  EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                  CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.

           2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 14 days after your bankruptcy case is filed.
          3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]
       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.


Software Copyright (c) 1996-2014 Best Case, LLC - www.bestcase.com                                                       Best Case Bankruptcy
              Case 15-51342-crm                            Doc 1       Filed 01/22/15 Entered 01/22/15 19:02:28       Desc Main
                                                                       Document      Page 5 of 13


B 1D (Official Form 1, Exhibit D) (12/09) - Cont.                                                                                   Page 2



          4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                  Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
       mental deficiency so as to be incapable of realizing and making rational decisions with respect to
       financial responsibilities.);
                  Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
       unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
       through the Internet.);
                  Active military duty in a military combat zone.
         5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.
             I certify under penalty of perjury that the information provided above is true and correct.

                                                       Signature of Debtor:             /s/ James Leonard Reid, III
                                                                                        James Leonard Reid, III
                                                       Date:         January 22, 2015




Software Copyright (c) 1996-2014 Best Case, LLC - www.bestcase.com                                                          Best Case Bankruptcy
            Case 15-51342-crm                         Doc 1          Filed 01/22/15 Entered 01/22/15 19:02:28       Desc Main
                                                                     Document      Page 6 of 13


B 1D (Official Form 1, Exhibit D) (12/09)
                                                               United States Bankruptcy Court
                                                                     Northern District of Georgia
            James Leonard Reid, III
 In re      Erical L Reid                                                                           Case No.
                                                                                 Debtor(s)          Chapter    13




                  EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                  CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.

           2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 14 days after your bankruptcy case is filed.
          3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]
       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.


Software Copyright (c) 1996-2014 Best Case, LLC - www.bestcase.com                                                       Best Case Bankruptcy
              Case 15-51342-crm                            Doc 1       Filed 01/22/15 Entered 01/22/15 19:02:28   Desc Main
                                                                       Document      Page 7 of 13


B 1D (Official Form 1, Exhibit D) (12/09) - Cont.                                                                               Page 2



          4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                  Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
       mental deficiency so as to be incapable of realizing and making rational decisions with respect to
       financial responsibilities.);
                  Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
       unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
       through the Internet.);
                  Active military duty in a military combat zone.
         5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.
             I certify under penalty of perjury that the information provided above is true and correct.

                                                       Signature of Debtor:         /s/ Erical L Reid
                                                                                    Erical L Reid
                                                       Date:         January 22, 2015




Software Copyright (c) 1996-2014 Best Case, LLC - www.bestcase.com                                                      Best Case Bankruptcy
    Case 15-51342-crm   Doc 1   Filed 01/22/15 Entered 01/22/15 19:02:28   Desc Main
      Pg. 1 of 6                Document      Page 8 of 13

}
b
k
1
{
C
r
e
d
i
t
o
A
s
M
a
x




                        American Credit Acceptance
                        340 E Main St Ste 400
                        Spartanburg, SC 29302



                        American Info Source
                        P.O. Box 248848
                        Oklahoma City, OK 73124



                        Amerisol
                        Po Box 02570
                        Charlotte, NC 28260



                        Anita Hood
                        3006 Nottinghill Court
                        Conyers, GA 30094



                        Arbor Creek Apartments
                        C/O CARTER-YOUNG INC
                         P.O. BOX 82269
                        Conyers, GA 30013



                        Aspen Dental
                        1450 Highway 138 SE
                        Conyers, GA 30013



                        Auto Credit of Atlanta
                        2799 Lawrenceville Hwy
                        Ste 211
                        Decatur, GA 30033-2517



                        Bank of America
                        3141 Turner Hill Rd
                        Lithonia, GA 30038



                        Best Bank
                        1916 Pacific Ave
                        Dallas, TX 75201
Case 15-51342-crm   Doc 1   Filed 01/22/15 Entered 01/22/15 19:02:28   Desc Main
  Pg. 2 of 6                Document      Page 9 of 13


                    Capital One
                    Attn: General Correspondence
                    Po Box 30285
                    Salt Lake City, UT 84130



                    CEP Dekalb Ed
                    c/o Stanislaus Credit Control
                    914 14th Street
                    Modesto, CA 95353



                    Coast Dental
                    2502 North Rocky Point Drive
                    Tampa, FL 33607



                    Collectron Of Atlanta/Carter-Young
                    Attention: Bankruptcy
                    Po Box 82269
                    Conyers, GA 30013



                    Comcast
                    c/o Stellar Recovery Inc
                    1845 US Highway 93 S
                    Kalispell, MT 59901



                    Covington Credit
                    2166B Salem Road
                    Conyers, GA 30013



                    Darnell Quick Recovery
                    4134 Highway 278 N
                    Covington, GA 30015



                    Dept of Ed/ Sallie Mae
                    PO Box 9635
                    Wilkes Barre, PA 18773



                    Don Lamonds
                    982 Adams Circle
                    Social Circle, GA 30025
Case 15-51342-crm   Doc 1   Filed 01/22/15 Entered 01/22/15 19:02:28   Desc Main
  Pg. 3 of 6                Document     Page 10 of 13


                    DT Credit Corp
                    PO Box 29018
                    Phoenix, AZ 85038



                    First Choice Rentals, Inc
                    3006 Notting Hill Ct
                    Conyers, GA 30094



                    First Premier
                    3820 N Louise Avenue
                    Sioux Falls, SD 57107



                    Georgia Department of Revenue
                    1800 Century Blvd NE Suite 910
                    Atlanta, GA 30321



                    Georgia Power
                    2500 Patrick Henry Pkwy
                    Bin # 80003
                    Mcdonough, GA 30253-4298



                    Health Care Finance Direct
                    1201 24th St
                    #B-200
                    Bakersfield, CA 93301



                    Hunter Warfield
                    Attention: Collections Department
                    4620 Woodland Corporate Blvd
                    Tampa, FL 33614



                    IRS
                    Centralized Insolvency Opera
                    P.O. Box 7346
                    Philadelphia, PA 19101-7346



                    Kross/lieberman & Ston
                    1110 Navaho Dr Ste 501
                    Raleigh, NC 27609
Case 15-51342-crm   Doc 1   Filed 01/22/15 Entered 01/22/15 19:02:28   Desc Main
  Pg. 4 of 6                Document     Page 11 of 13


                    Mayfield Addison
                    to be provided



                    Med Data Sys
                    2001 19th Ave Suite 312
                    Vero Beach, FL 32960



                    Nicholas Finance Corp
                    1500 Mount Zion Rd
                    Morrow, GA 30260



                    North Amercn
                    2810 Walker Rd
                    Chattanooga, TN 37421



                    Public storage
                    6000 Lawrenceville Hwy
                    Tucker, GA 30084



                    Public Storage
                    5260 Minola Drive
                    Lithonia, GA 30038



                    Rockdale County Waste Water
                    2420 Tatum Rd
                    Conyers, GA 30013



                    Rockdale Medical Center
                    c/o N Amer CR
                    2810 Walker Road
                    Chattanooga, TN 37421



                    Rodd Properties LLC
                    1564 EASTMONT DR NW
                    Conyers, GA 30012
Case 15-51342-crm   Doc 1   Filed 01/22/15 Entered 01/22/15 19:02:28   Desc Main
  Pg. 5 of 6                Document     Page 12 of 13


                    SCANA
                    3340 Peachtree Road
                    Atlanta, GA 30326



                    Service Loan Company
                    2166 Salem Rd SE
                    Conyers, GA 30013



                    Shoals Crossing
                    c/o Sterling Associates Inc
                    3833 Roswell Rd Ste 114
                    Atlanta, GA 30342



                    Snapping Shaols
                    191 Fairview Rd.
                    Ellenwood, GA 30294



                    Stanisccontr
                    914 14th St
                    Modesto, CA 95353



                    Stellar Recovery Inc
                    1845 US Highway 93
                    Kalispell, MT 59901



                    Sterling Associates
                    3833 Roswell Rd
                    Ste 114
                    Atlanta, GA 30342



                    Tandem Capital Sources
                    PO Box 1597
                    Fayetteville, GA 30214



                    Terraces at Fieldstone
                    c/o Hunter Warfield
                    4620 Woodland Corporate Blvd
                    Tampa, FL 33614-2415
Case 15-51342-crm   Doc 1   Filed 01/22/15 Entered 01/22/15 19:02:28   Desc Main
  Pg. 6 of 6                Document     Page 13 of 13


                    Title Tree LLC
                    2078 Beaver Ruin Rd.
                    Suite 300
                    Norcross, GA 30071



                    Verizon
                    500 Technology Dr
                    Ste 550
                    Weldon Spring, MO 63304



                    Wells Fargo
                    6756 Covington Hwy
                    Lithonia, GA 30058



                    West Asset Management
                    2703 N Highway 75
                    Sherman, TX 75090



                    World Finance Corp
                    World Acceptance Corp/Attn Bankruptcy
                    Po Box 6429
                    Greenville, SC 29606
